Case 1:18-cr-20953-MGC Document 34 Entered on FLSD Docket 06/05/2019 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT FOR
                         THE SOUTHERN DISTRICT OF FLORIDA
                                   CASE No.:   18-20953-CR-COOKE


        UNITED STATES OF AMERICA,

        vs.

        TERRANCE REYNOLDS,
                   Defendant.
        ___________________________/

                                    DEFENSE WITNESS LIST

        Pursuant To This Court’s trial scheduling order, the following is a list of potential
        defense witnesses.
              1. Michael Burcks
              2. Tanaisha Clarke
              3. Andre Lopez
              4. Tanya McLeod
              5. Alicia Owens-Wallace
              6. Gerardo Pedroza
              7. Latosha Walker
              8. Kristina Zebley
                                   CERTIFICATE OF SERVICE

        I Hereby Certify that a true and correct copy of the foregoing was served upon all
        parties via the ECM/ECF system on June 5, 2019.

                                                   Respectfully submitted,


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                                                   By: /s/ Antonio F. Valiente_
                                                       Antonio F. Valiente, Esq.
                                                       FL Bar No.: 81999
